           Case 2:17-cv-00022-JB-CG Document 50 Filed 07/30/19 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

A.J. OLIVAS, individually and on behalf of
those similarly situated,

        Plaintiff,

v.                                                    Civil Action No. 2:17-cv-00022-JB-CG

C & S OILFIELD SERVICES, LLC,
DEWEY COFFMAN, and BRETT
COFFMAN, individually,

        Defendants.


              JOINT NOTICE OF SETTLEMENT AND REQUEST FOR STAY

       The Parties hereby file this Notice of Settlement and respectfully show the Court as

follows:

       1.       The Parties have reached a settlement in principle in the above-referenced case and

are in the process of finalizing the settlement, including preparation of the settlement agreement

and dismissal documents.

       2.       The Parties anticipate that the settlement process, including preparation of

settlement and dismissal documents, should be completed within the next 30 days, and request the

Court to stay all pending deadlines and proceedings during this time.
        Case 2:17-cv-00022-JB-CG Document 50 Filed 07/30/19 Page 2 of 2




Respectfully submitted,

/s/ Travis Gasper                               KEMP SMITH LLP
J. DEREK BRAZIEL                                P.O. Box 2800
Co-Attorney in Charge                           El Paso, Texas 79999-2800
Texas Bar No. 00793380                          915.533.4424
jdbraziel@l-b-law.com                           915.546.5360 (FAX)
TRAVIS GASPER
Texas Bar No. 24096881                          By: /s/ Clara B. Burns
gasper@l-b-law.com                              CLARA B. BURNS
Lee & Braziel, L.L.P.                           cburns@kempsmith.com
1801 N. Lamar Street, Suite 325
Dallas, Texas 75202                             ATTORNEY FOR DEFENDANTS
(214) 749-1400 phone
(214) 749-1010 fax
www.overtimelawyer.com

JACK SIEGEL
Co-Attorney in Charge
Texas Bar No. 24070621
jack@siegellawgroup.biz
Siegel Law Group, PLLC
2820 McKinnon, Suite 5009
Dallas, Texas 75201
(214) 706-0834 phone
(469) 339-0204 fax
www.siegellawgroup.biz

ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on all

counsel of record through the Court’s ECF system as of the date file-stamped thereon.



                                                   /s/ Travis Gasper
                                                   TRAVIS GASPER
